
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 5th day of April 2004 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 12th day of August 2004."
Upon consideration of the petition filed on the 5th day of April 2004 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 12th day of August 2004."
